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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



N-E-M-B, an adult,                                  Case No. 3:25-cv-989-SI

               Petitioner,                          Agency No. AXXX-XXX-099

       v.                                           ORDER

DREW BOSTOCK, Seattle Field Office
Director, Immigration and Customs
Enforcement and Removal Operations
(“ICE/ERO”), TODD LYONS, Acting
Director of Immigration Customs
Enforcement (“ICE”), U.S. IMMIGRATION
AND CUSTOMS ENFORCEMENT,
KRISTI NOEM, Secretary of the Department
of Homeland Security (“DHS”), U.S.
DEPARTMENT OF HOMELAND
SECURITY; and PAMELA BONDI,
Attorney General of the United States,

               Respondents.


Michael H. Simon, District Judge.

       Petitioner N-E-M-B, a citizen of Ecuador, seeks protection in the United States after

being kidnapped and threatened with death by the Los Choneros organized crime syndicate.

Petitioner was released into the United States on August 22, 2023, on an Order or Release on

Recognizance under 8 U.S.C. § 1226(a). Respondents commenced removal proceedings, which

entitles Petitioner to due process rights under 8 U.S.C. § 1229a.



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        Now before the Court is a Petition for Writ of Habeas Corpus ("Petition"). ECF 1.

Petitioner alleges that Respondents now seek to "eject" Petitioner from his asylum case, deprive

him of his due process rights, detain him, and transfer him from the District of Oregon. Petitioner

alleges that Respondents are doing this not based on any individualized determination, but on an

improper interpretation (what Petitioner refers to as the "January 2025 Designation") of

executive orders issued by President Donald Trump. On June 10, 2025, Petitioner attended an

immigration court hearing in Portland, Oregon. His proceeding was dismissed, he was unable to

move forward with his asylum case, and he was immediately arrested by U.S . Immigration and

Customs Enforcement agents as he left the immigration court.

        In the Petition, Petitioner requests that the Court: ( 1) assume jurisdiction over this matter;

(2) order Respondents to show cause within three days why the Petition should not be granted;

(3) declare that Petitioner' s re-detention without an individualized determination violates the

Fifth Amendment's Due Process Clause; (4) declare that Respondents ' application of the

January 2025 Designation to Petitioner is illegal; (5) issue a Writ of Habeas Corpus ordering

Petitioner' s release from custody; (6) issue an Order prohibiting Respondents from transferring

Petitioner out of the District of Oregon without prior approval of the Court; (7) award Petitioner

his attorney ' s fees and costs; and (8) grant any other relief that the Court deems just and proper.

        Upon review of the Petition, the Court ORDERS :

        1.      Petitioner shall promptly serve a copy of this Order upon Respondents and the

Acting United States Attorney for the District of Oregon, William Narus

(William.Narus@usdoj.gov) . The Court Clerk shall also serve a courtesy copy on the Acting

Unites States Attorney.




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        2.      Not later than June 13, 2025, at noon Pacific Time, Respondents shall answer or

otherwise respond to the Petition.

        3.      Although a United States District Comt generally lacks subject-matter jurisdiction

to review orders ofremoval, see 8 U.S.C § 1252(a)(2), (g), it does generally have jurisdiction

over habeas petitions. See 28 U.S.C § 2241(a); see also Hamdi v. Rumsfeld, 542 U.S . 507, 525

(2004) (citing U.S. Const., Art. I,§ 9, cl. 2 and stating that "absent suspension, the writ of habeas

corpus remains available to every individual detained within the United States"). Moreover, "a

federal comt always has jurisdiction to determine its own jurisdiction," including its own

subject-matter jurisdiction. Brownback v. King, 592 U.S. 209, 218-19 (2021) (quoting United

States v. Ruiz, 536 U.S. 622, 628 (2002)). To give a court a reasonable opportunity to determine

whether it has subject-matter jurisdiction and whether venue is proper in a district, and if so to

consider the validity of a habeas petition, a court may order the preservation of the status quo.

See United States v. United Mine Workers ofAm., 330 U.S. 258, 293 (1947) ("[T]he District

Court ha[s] the power to preserve existing conditions while it ... determine[s] its own authority

to grant injunctive relief," unless the assertion of jurisdiction is frivolous.). Such an order

remains valid unless and until it is ove1tumed, even when the issuing court lacks subject-matter

jurisdiction to determine the underlying action' s merits. See id. at 293-94. This principle applies

with even greater force when the action a comt enjoins would otherwise destroy its jurisdiction

or moot the case. See Garcia v. United States Customs & Border Prat., 2021 WL 4815945, at *6

(C.D. Cal. Aug. 20, 2021) (" [E]quity requires that his case not be rendered moot before it has

begun. A preliminary injunction against his continued accrual of unlawful presence is

appropriate as it merely maintains the status quo pending resolution of his underlying claims.");

cf Yeomans v. World Fin. Grp. Ins. Agency, Inc., 2020 WL 4458908, at *3 (N.D. Cal. May 27,



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2020) ("[CJ lass-wide [injunctive] relief may be granted prior to class certification where it is

necessary to preserve the status quo, so that the case and ultimate relief does not effectively

become moot." (citing Price v. City ofStockton, 390 F.3d 1105, 1117-18 (9th Cir. 2004)).

       4.      Unless otherwise ordered by the Court, Respondents shall not move Petitioner

outside the District of Oregon without first providing advance notice of the intended move. Such

notice must be filed in writing and docketed in this proceeding. It also must state the reason that

Respondents believe that such a move is necessary. After that notice has been filed on the

docket, Petitioner shall not be moved out of the District of Oregon for at least two business days

or 48 hours, whichever is later, from the time of the docketing. This period may be shortened or

extended as appropriate by further Court Order.

       If Respondents already have moved Petitioner outside of the District of Oregon,

Respondents are Ordered to notify the Cowt within two hours of being served with this

Order. Respondents are further Ordered to state the exact date and time that Petitioner was

transferred out of the District of Oregon and the reason why Respondents believed that such a

move was immediately necessary.

       IT IS SO ORDERED.

       DATED this 10th day of June, 2025.



                                                      United States District Judge




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